                                              United States Bankruptcy Court
                                             Western District of Washington
In re:                                                                                                     Case No. 15-16561-TWD
Oswaldo Victorino Covarrubias                                                                              Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0981-2                  User: admin                        Page 1 of 1                          Date Rcvd: Feb 03, 2016
                                      Form ID: 318                       Total Noticed: 11


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Feb 05, 2016.
db              Oswaldo Victorino Covarrubias,    210 37th St SE, Trlr #115,   Auburn, WA 98002-8856
955655526      +Allstate Insurance,   3075 Sanders Rd., Ste H2D,    Attn: Residual Markets Unit,
                 Northbrook, IL 60062-7127
955655527      +Chiropractic Physicians,    Dr. Leo Romero,   802 S Central Ave,   Kent, WA 98032-6107
955655529       Edward R. Mott,   515 1st Ave. E,    Pacific, WA 98047-1230
955655531       Ryder W. Beard,   8609 244th St. SW,    Edmonds, WA 98026-9062
955655532      +WA Department of Licensing,    PO Box 9031,   Olympia, WA 98507-9031

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr             +EDI: QNLJAMES.COM Feb 03 2016 23:53:00      Nancy L James,   15008 63rd Dr SE,
                 Snohomish, WA 98296-4213
smg             EDI: WADEPREV.COM Feb 03 2016 23:53:00      State of Washington,   Department of Revenue,
                 2101 4th Ave, Ste 1400,    Seattle, WA 98121-2300
955655528      +EDI: CCS.COM Feb 03 2016 23:53:00      Credit Collection Services,    Two Wells Ave,   Dept. 9134,
                 Newton Center, MA 02459-3225
955655530       EDI: IRS.COM Feb 03 2016 23:53:00      Internal Revenue Service,
                 Centralized Insolvency Operati,    PO Box 7346,   Philadelphia, PA 19101-7346
955655533       EDI: WADEPREV.COM Feb 03 2016 23:53:00      WA Department of Revenue,    Bankruptcy/Claims Unit,
                 2101 4th Ave # 1400,    Seattle, WA 98121-2300
                                                                                              TOTAL: 5

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Feb 05, 2016                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on February 3, 2016 at the address(es) listed below:
              John R Laris   on behalf of Debtor Oswaldo Victorino Covarrubias johnlaris@barrazalaw.com,
               jlaris@gmail.com
              Nancy L James   njames@epitrustee.com, njames@ecf.epiqsystems.com
              United States Trustee    USTPRegion18.SE.ECF@usdoj.gov
              Vicente O Barraza    on behalf of Debtor Oswaldo Victorino Covarrubias omar@barrazalaw.com,
               vobarraza@gmail.com
                                                                                             TOTAL: 4




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Information to identify the case:
Debtor 1              Oswaldo Victorino Covarrubias                               Social Security number or ITIN   xxx−xx−3627
                      First Name   Middle Name   Last Name                        EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                          Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                  EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Western District of Washington

Case number: 15−16561−TWD



Order of Discharge                                                                                                          12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           Oswaldo Victorino Covarrubias


           2/3/16                                                         By the court: Timothy W. Dore
                                                                                        United States Bankruptcy Judge


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                           This order does not prevent debtors from paying
and it does not determine how much money, if                             any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                     debts according to the reaffirmation agreement.
                                                                         11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                Most debts are discharged
attempt to collect a discharged debt from the                            Most debts are covered by the discharge, but not
debtors personally. For example, creditors                               all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                          personal liability for debts owed before the
or otherwise try to collect from the debtors                             debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                         Also, if this case began under a different chapter
in any attempt to collect the debt personally.                           of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                         to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                              are discharged.
However, a creditor with a lien may enforce a                            In a case involving community property: Special
claim against the debtors' property subject to that                      rules protect certain community property owned
lien unless the lien was avoided or eliminated.                          by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                            not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                        For more information, see page 2 >




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Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




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